THE STATE OF TEXAS                                  FELONY                        WARRANT OF ARREST
                  vs                                                                ant No. F2220055
RUSSELL BARRY LEE

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DL- (
SSN - - -
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                                                                D
DOB-




To any Sheriff, Constable or e e fficer of the State of Texas, Greetings: You are Hereby
Commanded to Arrest              ........ L, BARRY LEE   if to be found in your County and
bring Him/Her before me, a Justice of the Peace in and for Precinct 2 of Midland County, Texas,
at my office in Midland in said County, immediately, to then and there answer the State of Texas
for an offense against the laws of said State, to-wit:

            FAIL TO REPORT W /INTENT TO CONCEAL THE ABUSE OR NEGLECT

of which offense He/She, RUSSELL, BARRY LEE is accused by the written complaint,
under oath, of MPD J ALONZO filed before me.
      Herein Fail Not, but of this writ make due return, showing how you have executed the
same.
      Witness my official signature, this the 16th day of February 2022

     r          -:_                                               ~.Q_'--
$   \.-:,   ,oaO
          BOND                                                    DAVIDM. COBOS
MUST BE MAGISTRATED PRIOR                                         Justice of the Peace, Pct 2
TO RELEASE ON BOND                                                Midland County, Texas


Come to hand the _ _ _ day of _ _ _ _                   20_,at _ _ _ o'clock __.M., and executed on the _ __
day of                     20_, at            o'clock _ _.M., by arresting the within names
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ __ _ _ _ _ _ m
_ _ _ _ _ _ _ County, Texas, and Taking his bond or Placing him in Jail at _ _ _ _ _ _ __
        I actually and necessarily traveled _ _ miles in the service of this writ, in addition to any other mileage I may
have traveled in the service of other process in this cause during the same trip.

FEES -           Making Arrest ............ $_ _ _ __
                 Mileage ....................... $ _ _ _ __               Sheriff/ Constable
                 Taking Bond ............... $_ __ __
                 Commitment. .............. $ _ _ _ __                    _ _ _ _ __ _County, Texas
                 Release ........................ $_ _ _ __
                                                                          by _ _ __ _ _ _ _Deputy
                 TOTAL ....................... $- - - - -




                                                   Exhibit 5-001
OFFENSE: FAILURE TO REPORT

J.P.#:        £2a:;.oo~
DATE:        Februa ry 16, 2022

BOND:

IN THE NAME AND BY THE AUTHORITY ffF THE STATE OF TEXAS:

        BEFORE ME, the undersigned authority, on this day personally appeared affiant,
who after being by me first duly sworn, says on or about the 20th day of .JANUARY,
A.O. 2022 and before the making and filing of this complaint, in the County of Midland,
State of Texas,

                    BARRY LEE RUSSELL \VM DOB
                                    (Name of Defendant)

did then and th                          sc to believe that the physical and mental health
and welfare of                           a child had been and may be adversely affected
by the offense of AGGRAVATED SEXUAL ASSAULT, and the said then and there
knowingly as a professional failed to report as provided by law, and has a duty to report
under 261.l0I(a) ofthe Texas Family Code, and is a state jail felony under 261.109 (c) of
the Texas Family Code, the actor intended to conceal the abuse or neglect

against the peace and dignity of the Stale .




      .S't"orn to and s~ibed before me by affiant, a credible person, on this the   /(}i
                                                          =u~
day o f ~ . A.O. 20 r



                                                          JUSTICE OF THE PEACE
                                                                                    -
                                                          Precinct   J..-   Place- --

                                                          Midland County, Texas

                                                       Time Filed: - - - - -- -




                                    Exhibit 5-002
                         AFFIDAVIT FOR ARREST WARRANT

                                          J.P.#   F~amf:3
THE ST A TE OF TEXAS
COUNTY OF MIDLAND                                                                  Case#220128019
The undersigned affiant, being a peace officer under the la·ws of Texas, and being duly sworn,
on oath, makes the following statement and accusation:

I. Suspected Party: Barry Lee Russell, WM DOB                   Brown Hair, Blue Eyes, 5'11", 212LBS, TXDL


2. It is the belief of Affiant, and he hereby charges and accuses, that said suspected party has
committed the following offense: FAILURE TO REPORT TEXAS FAMILY CODE SECTION 261.109(C)
(STATE JAIL FELONY) ON OR ABOUT JANUARY 20TH, 2022 AT MIDLAND CHRISTIAN SCHOOL LOCATED
AT 2001 CULVER IN MIDLAND, IN THE COUNTY OF MIDLAND, TEXAS.

3. Affiant has probable cause for said belief by reason of the following facts, to wit:

The affiant Jem)ie Alonzo is a Detective with City of Mid land Police Department and is currently assigned to
the Crime Against Persons Division in the lnvcstigutivc Service Bureau. Aniant has been employed with the
Midland Police lkpartment for 9 years.

On Friday, January 28, 2022, I, Detective Alonzo was the on-call Crimes Against Persons Detective and
was notified in reference to a possible sexual assault of a child that occurred at Midland Christian School.
I was further advised that the assault did not just occur. The incident was reported to have occurred on or
about Thursday, January 201", 2022, during baseball practice at Max 1-1. Christensen Stadium located at
4300 N. Lamesa.

I contacted the victim,                 (WM DOB 0                  and his mother Veronica Costi Ila in
reference to the incident. orcns1c interview was schc u c       or Friday, February I I, 2022, at the
Children's Advocacy Center.




                                                      .1.




                                          Exhibit 5-003
-                ver onto his back and put a bat in his butt. -         explained that he was wearing white
      baseball pants whc1~        put the bat up his butt. When the bat was pushed into his butt, his pants and
      underwear were pushed in as wel-              stated that he co -     · 1e knob of the bat in his butt.
    -            xplaincd that when he felt the bat, it was rclt hard.          stated that when he got up his butt
     hurt, and it was sore.

Radhi exited the interview for a break. When Radhi returned to the interview room, she clarified with
_ .hat had happened with the bat-                        1a1ed that the bat went into his butt.-    latcd
that i f It like something poking him.             slated that his underwear was pushed in
            tated that it felt like something was poking through his pants, puncturing his bull.-
state t mt his hands were behind his back.

-            tated that he secs           10w.   The two of them see each other every day as they are on the
    same baseball team.

    On Friday, February 11, 2022, SGT R. Sharp and I went to Midland Christian School located at 2001
    Culver Dr. to speak with the Superintendent orthc school, which is Jared Owen Lee (WM DOB
                 . Lee ~,•as out of the onice. HO\~ev~r, I spoke with Dam_~ l~lizabcth Ellis I WF Di l3
                  who 1s the secon~         l10ol prmc1pal. I requested for I.Jlts to havJ    II !l[ii •...
                                                                                                        .;orne to
    the office. After some time, '-1111111ca111e to the onice and was later transported to  the Midland  Police
    Department.

    While speaking to Ellis, she advised me that she was aware of an investigation into the incident bclween
            and            Ellis stated that she knew it had been documented. I requested copies of the
    documentation. However, Ellis stated that Lee had the documentation pertaining to the incident and she
    did not have access to it. I requested that the documents be sent to me on Monday February 14, 2022. It
    was discovered that on Thursday, January 20, 2022, [llis was notified in reference to a sexual assault that
    had occurred. Ellis stated she knew or the incident on January 20, 2022, that a one of baseball players had
    a baseball bat shoved into his anus. On January 21, 2022, Ellis notified Lee in reference to the student
    having a baseball bat shoved up his an~               hc was aware on that date. Al that tim~
    Gregory Neal McClendon (WM DOB -                     111d Matthew David Counts (WM DO. . . . . . . .o
    conduct an "investigation" into the incident instead of notifying law enforcement or another state agency
    listed in Texas Family Code section: 261.101. I provided her with my card with my contact information.

    On February I 4, 2022, I received a call from Lee who stated that he would not provide the documentation
    and refused to answer any questions during the call, he requested a search warrant.

    It should be noted that in the original report, Ofliccr Fonseca listed that he spoke with Lee on January 28,
    2022. During this interaction, Lee stated that their investigation found the baseball bat did in fact touch
                anus but did not go inside.

    A search warrant was applied for and granted. The search warrant wus served on February 14, 2022, at
    Mid land Christian School.

    During the course of the investigation, it was found that the following individuals employed with Midland
    Christian School had knowledge of the sexual assault on January 21, 2022 - Jared 0. Lee who is the
    Superintendent of' Midland Christian, Dana E. Ellis who is the Principal of the Secondary School,
    Matthew D. Counts who is the Vice Principal of the Sec~                !, Gregory N. McClendon who is
    the Athletic Director, and Barry Lee Russell  (WM    DOB   -      -who      is one of the baseball coaches.
    These individuals who arc administrators   and  teachers at Midland Christian School arc required by Texas
                                                            2




                                                 Exhibit 5-004
Family Codc:261.10 I to report the incident to authorities. Instead of reporting the incident they have
continually attempted to conceal the incident or abuse from authorities. The above listed staff members of
the school conducted their own "investigation" although they had knowledge of the sexual assault.

During the search at Mid land Christian School, I was given documents by Lee. These were described as
"notes" from McClendon and Counts. There was no documentation. These documents were created either
February 1-h         mts and February 12 th by McClendon. In these notes, there was documentation that
describes I           anus was touched with the baseball bat. However, McClcndon and Counts both
stated that on February 14, 2022, during separate interviews that this was most of the information they
could remember (interviews with s1udents) since 1he incident occurred three weeks ago. None of the
students were interviewed by a forensic interviewer. The victim did not have a forensic interview, nor did
he have a SANE clone at that time due to law enforcement n01 being notified of the incident.
I was also given emails that contained communication between the initial complainant, Lee, Ellis, Counts,
McClendon, and Russell. In the emails it was made very clear that a sexual assault had occurred, and the
school had a duty to rcpon. The complainant told the school administration if they did not report the
incident, he would have to as a mandatory/professional reponer. There were multiple emails exchanged.
Several of the administrators refused to repon the incident as shown in emails when communicating and
responding to the complainant.

The above listed administrators of Midland Christian School foiled to report the abuse under Texas
Family Code Section: 261 . 109 in an attemJ>l to conceal the allegation of a fellow student/baseball player
who sexually assaulted another sludcnt/bHscball player (victim) with a baseball bat.

On this date, February 16, 2022, a warrant will be issued for the following - Jared Owen Lee, Dana
Elizabeth Ellis, Gregory Neal McClcndon, Matthew David Counts, and Barry Lee Russell for Failure to
Report (State Jail Felony).

ALL THE FACTS CONTAINED HEREIN ARE SUBSEQUENT TO AND GATHERED THROUGH OFFICIAL POLICE
REPORTS AND FROM THE CRIMINAL INVESTIGATION CONDUCTED BY DETECTIVE JENNIE ALONZO OF THE
MIDLAND POLICE DPEARTMENT. THE ABOVE EVENTS OCCURRED IN THE CITY AND COUNTY OF MIDLAND,
TEXAS AND ARE TRUE AND CORRECT TO THE BEST OF AFFIANT'S KNOWLEDGE.

Wherefore, afliant asks for an issuance of a warrant that will authorize her
party.




Subscribed and sworn to before me by said Affiant on this the 16n 1 day of February 2022.

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Time- -- - -                                                       .Justice of the Peace
                                                                   Precinct#
                                                                   Midland County, Texas




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                                          Exhibit 5-005
